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 8                                 UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,
12                  Plaintiff,                              No. CR. S-08-0263 FCD
13          v.
14   JAMES KEVIN DIXON,                                     RELATED CASE ORDER
15               Defendant.
     ________________________________/
16
     UNITED STATES OF AMERICA,
17
                    Plaintiff,                              No. CR. S-08-0579 GEB
18
            v.
19
     JAMES KEVIN DIXON,
20
                 Defendant.
21   ________________________________/
22          Examination of the above-entitled actions reveals that they are related within the meaning
23   of Local Rule 83-123(a) (E.D. Cal. 1997). The actions involve the same defendant and are based
24   on similar questions of fact, and would therefore entail a substantial duplication of labor if heard
25   by different judges. Accordingly, the assignment of the matters to the same judge is likely to
26   effect a substantial savings of judicial effort and is also likely to be convenient for the parties.
27          The parties should be aware that relating the cases under Local Rule 83-123 merely has
28   the result that these actions are assigned to the same judge; no consolidation of the actions is
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 1   effected. Under the regular practice of this court, related cases are generally assigned to the
 2   judge and magistrate judge to whom the first filed action was assigned.
 3          IT IS THEREFORE ORDERED that the action denominated, CR.S-08-0579 is
 4   reassigned to Judge Frank C. Damrell, Jr. for all further proceedings, and any dates currently set
 5   in the reassigned case only are hereby VACATED. Henceforth, the caption on documents filed
 6   in the reassigned cases shall be shown as CR. S-08-0579 FCD.
 7          IT IS FURTHER ORDERED that the Clerk of Court make appropriate adjustment in the
 8   assignment of criminal cases to compensate for this reassignment.
 9          IT IS SO ORDERED.
10   DATED: May 1, 2009
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12                                                _______________________________________
                                                  FRANK C. DAMRELL, JR.
13                                                UNITED STATES DISTRICT JUDGE
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